h Wase 2:17-cv-11107-|\/|OB-APP ECF No.l filed 04/07/17 Page|D.l Pagelof 10 /’z )

MlED ProSe l (Rev 5/16) Cornplajnt for a Civil Case

IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE EASTERN DISTRICT OF MICHIGAN
Case;2;17-cv-11107

Judge; Battani, Marianne O_
MJ: Pattt, Anthony P,

 

Filed; 04-07»2017 At 04132 PM

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please write "see attached" in the space and attach an additional Jury Trial; [j Yes {:] NO

page with the pdi list ofnames.) (check one)

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with the full list ofnames.)

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Complaint for a Civil Case

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Case 2:17-cv-11107-l\/|OB-APP ECF No. 1 filed 04/07/17 PagelD.Z Page 2 of 10

MIED ProSe l (Rcv 5/16) Complaint for a Civil Case
I. The Parties to This Complaint
A. The Piain¢ifr(s)

Provide the information below for each plaintiff named in the complaint Attach
additional pages if needed.

 

 

 

 

 

 

 

 

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E-mail Address f\l\C>i\ O`P 0 \ \,)¢(_,v‘\ 5 l,\ Q \{Q‘I;\ 0(; QO ,\,\

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation
For an individuai defendant, include the person’sjob or title (if known). Attach
additional pages if needed.

Defendant No. l

Name h YV\|\C'\/'\\\\C.\JO\V\ N\`D‘~`\Vi V"\$`Lv\"i`@c° iXUW\L»/\

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Defendant No. 2
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Case 2:17-cV-11107-l\/lOB-APP ECF No. 1 filed 04/07/17 PagelD.S Page 3 of 10

MIED ProSc l (Rev 5/16) Complai.nt for a Civil Casc

II.

Defendant No. 3

 

 

 

 

 

 

 

 

 

 

 

 

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Job or Title )
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Defendant No. 4
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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case, Under 28 U.S.C.

§ 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal court jurisdiction? (check all that appiy)

l:‘l/ Federal question l:i' Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

 

Case 2:17-cV-11107-l\/lOB-APP ECF No. 1 filed 04/07/17 PagelD.4 Page 4 of 10

MIED ProSe l (Rev 5.’16) Compiaint for a Civil Case

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case,

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t'\/\{C"/\;§o\f\ p'€lf§@"\$ L’\J`\+\/\ bic_>@\&>\iih_‘€§ ir£\cj\' Nazz,()

B. If the Basis for Jurisdiction Is Diversity of Citizenship 905 \. t_. paid 3 0 C `\ <\7 g l

l. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff`, (name) Rg w oh l_.i/ id ` l \_\@ im i\ 3

is a citizen of the State of (name) li'\’\i C_ \f\ l 3 ci\/\`

b. If the plaintiff is a corporation
The plaintiff`, (name) ,
is incorporated under the laws of the State of (name)

, and has its principal place of business in the

 

State of (name)

 

(lf more than one plaintiff is named in the complaint, attach an additional page
providing the same information for each additional plaintijjT)

2. The Defendant(s)

 

 

 

 

 

 

a. Ifthe defendant is an individual g \{ .QQ,
The defendant, (name) _'55(:`\4 \>\L\,r»\e\{¢ " , is a citizen of the
State of (name) \~\ 4 c_\\‘,¢~_,r\\/\ . Or is a citizen of U`oreign
nation) J
b. If the defendant is a corporation iv ;;(- l~\Q oil L\ `l` i`\ `\~*W*’V\
The defendant, (name) iV\\‘tl/\\` ")n\~\ "M‘io“"’ M, is incorporated alarm "‘£ 5
under the laws of the State of (name) i\/\ \" i__\\ ‘L < q \/\ , and
has its principal place of business in the State of (iiame)
li\/\ \` c-\i\\ q q v'\ . Or is incorporated under the laws of
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ofbusinessin(name) OC\\`L\CA“Q,R Cv»-“l\/) CLJ\M./'l i)O¢\,'B_Q

(If more than one defendant is named in the complaint attach an additional
page providing the same information for each additional defendant.)

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MIED ProSe l (Rev 5/16) Complaint for a Civil Case
3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes
or the amount at stake_is more than $75,00(), not counting interest and costs Of`
court, because (explain):

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III. Statement ofClaim is ll 00 ©I 00 O

Write a short and plain statement of the claim. Do not make legal arguments State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff"s rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph Attach additional pages if needed.

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Case 2:17-cV-11107-l\/lOB-APP ECF No. 1 filed 04/07/17 PagelD.€ Page 6 of 10

MIED ProSe l (Rev 5/16) Complaint for a Civil Case

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages

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V. Certification and Closing

Under F ederal Rule of Civil Procedure ll, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. i understand that my failure to keep a current address on
file with the Clcrk’s Office may result in the dismissal of my case.

Date ofsigning: Li ~_ j ,20 l"7.

Signature of Plaintiff §§ ¢A_ ij w %_’)<\

Printed Name of Plaintiff laid w gin {_,L T\/O t/v\ P\ \

 

Case 2:17-cV-11107-l\/lOB-APP ECF No. 1 filed 04/07/17 PagelD.? Page 7 of 10

MIED ProSe l (Rev 5/16) Complaint for a Civil Case

Additional Information:

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Case 2:17-cv-11107-|\/|OB-APP ECF No. 1 filed 04/07/17 Page|D.S Page 8 of 10
1344 (Rev. 11!15) CIVIL COVER SHEET Counly in which action arose:

The .lS 44 civil cover sheet and the information contained herein neither re face nor sup%|ernent the filing and service of pieadings or other papers as re uired by iaw, except as
provided by locall rules of court This form, approved by the Judiclal Con erence of the nlted Slates in eptember1974, ls required for the use ofthe lerk of Courl for the
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ACT|ON Brief description of cause:
VII. REQUESTED IN l:] CHECK ll= THIS ls A CLASS ACTloN DEMAND 5 CHECK YES Only ifd€mand¢d in complaint
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VIIl. RELATED CASE(S)
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Case 2:17-cv-11107-|\/|OB-APP ECF No. 1 filed 04/07/17 Page|D.9 Page 9 of 10
PURSUANT TO LOCAL RULE 83.11
1. ls this a case that has been previously dismissed? m YSS
l Q/No

lf yes, give the following information:

 

 

 

Court:
Case No.:
Judge:
2. Other than stated abovel are there any pending or previously
discontinued or dismissed companion cases in this or any other [| Yes

court, including state court? (Companion cases are matters in which W
it appears substantially similar evidence will be offered or the same

or related parties are present and the cases arise out of the same
transaction or occurrence.)
lf yes, give the following information:

Court:

 

Case No.:

 

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CaSe 2217-CV-11107-l\/|OB-APP ECF NO. 1 filed 04/07/17 Page|D.lO Page 10 Oi 10

 

   

New Lawsuit Check Li_st

lnstructions: Put a check mark' in the box next to each appropriate entry to be sure you have all the required documents.

 

Two (2} completed Ctvli Cover Sheets. / M£ l l €'

Enter the number of defendants named in your
lawsuit in the blank below, add 2 and then enter the CLER|< TO A|:F|)(

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Provide two (2} extra copies of the complaint for the U.S. Attorney and the Attorney Genera|.

 

  
 
  
 

 

 

  

Two (2} completed App|ication to Proceed' 111 District
Court without Prepaying Fees or Costs forms.

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Current new civil action filing fee is attached.

 

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Fees may be paid by check or money order made out to:

 
 
 

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Select the Method of Service you will employ to notify your defendants:

 

 

  

 

 

 

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U.S. Marshai form. - Two (2) Waiver of the Service of Summons forms
per defendant
_ Send these forms along with your filed complaint and
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defendants

 

 

 

 

 

 

 
 
   

 
 
   
 

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